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JS-6

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION
FRANCISCO DE LOS SANTOS, ) Case No. 2:20-cv-08633-SK
Plaintiff, )
)
v. ) JUDGMENT FOR VOLUNTARY
KILOLO KIJAKAZI, ) REMAND PURSUANT TO
Acting Commissioner of Social ) SENTENCE FOUR OF 42 U.S.C. §
Security, ) 405(g)
Defendant. )
)
)

 

The Court having approved the parties’ Stipulation to Voluntary Remand

Pursuant to Sentence Four of 42 U.S.C. § 405(g) and Entry of Judgment
(“Stipulation to Remand”) lodged concurrent with the lodging of the within

Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
DECREED that the above-captioned action is remanded to the Commissioner of

Social Security for further proceedings consistent with the Stipulation to Remand.

IT IS SO ORDERED.

Dated: 10/28/2021 — Shao

THE HONORABLE STEVE KIM
U.S. DISTRICT COURT MAGISTRATE JUDGE

 

 

 

 
